182 F.2d 351
    PUEBLO OF ACOMA etc.v.Arthur BIBO etc.
    No. 3537.
    United States Court of Appeals Tenth Circuit.
    June 9, 1950.
    
      Appeal from the United States District Court for the District of New Mexico.
      A. Devitt Vanech, Assistant Attorney General, and John F. Cotter, Fred W. Smith and Roger P. Marquis, Attorneys, Department of Justice, all of Washington, D.C., and Everett M. Grantham, United States Attorney, and Maurice Sanchez, Assistant United States Attorney, Albuquerque, N.M., for appellant.
      Seth &amp; Montgomer, Santa Fe, N.M., for appellee.
      Before PHILLIPS, Chief Judge, and BRATTON and HUXMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Judgment of District Court vacated and cause remanded May 9, 1950, with directions to dismiss the cause of action, pursuant to a stipulation of the parties.
    
    